Respondent, J. H. Walker, Land Commissioner, has filed a motion in this case asking that the leave heretofore granted relator to file petition for mandamus be withdrawn and the application dismissed, upon the ground that the land upon which relator seeks a mandamus to compel him to issue a mineral lease was patented to M. T. Cole prior to the filing of relator's petition in the Supreme Court.
The question raised by this motion has been determined in favor of respondent's contention in Cause No. 1419-6177, W. J. Caples, Relator, v. J. H. Walker et al., Respondents, this day decided (post 285). For the reasons there assigned the motion must be sustained.
We therefore recommend that respondent's motion be granted, and that leave to file petition for mandamus heretofore granted relator be withdrawn and the application dismissed.
Leave to file petition for mandamus is withdrawn and petition is dismissed.
C. M. CURETON, Chief Justice. *Page 285 